                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION


 In re: Michael G. Dombrowski,                   )          Case No.: 16-81412-CRJ-11
        SSN: xxx-xx-4413                         )
                                                 )
               Debtor.                           )          CHAPTER 11

                                             ORDER

         This matter came before the Court for hearing upon the Application by Debtor-In-
 Possession to Employ Chapter 11 Attorneys (Doc. 44). After proper notice, a hearing was held
 on July 20, 2016 with appearances by Michael G. Dombrowski as Debtor, Tazewell T. Shepard,
 III and Tazewell T. Shepard, IV on behalf of the Debtor, Amy H. Nation on behalf of Progress
 Bank, and Richard M. Blythe on behalf of the Bankruptcy Administrator. Upon due
 consideration of the pleading and the recommendation filed by the Bankruptcy Administrator,
 and with no objections having been filed, it is hereby

        ORDERED, ADJUDGED and DECREED that the Application by Debtor-In-
 Possession to Employ Chapter 11 Attorneys is hereby APPROVED.

        Dated this the 25th day of July, 2016.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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